                 IN THE UNITED STATES DISTRICT COURT
              FOR THE MIDDLE DISTRICT OF NORTH CAROLINA

SHELIA ROCHELLE NEAL,               )
                                    )
                   Petitioner,      )
                                    )
         v.                         )
                                    )            1:11CV529
                                    )            1:09CR261-3
                                    )
UNITED STATES OF AMERICA,           )
                                    )
                   Respondent.      )
                                    )
                                    )


                  MEMORANDUM OPINION AND ORDER

     Before the Court are Petitioner Shelia1 Rochelle Neal’s Motion Under 28

U.S.C. § 2255 to Vacate, Set Aside, or Correct Sentence [Doc. #642],

Recommendation of United States Magistrate Judge [Doc. #99], Petitioner’s

Motion for Reduction of Sentence (Pursuant to 18 U.S.C. § 3582(c)(2)) [Doc.

#101], and Petitioner’s Notice of Appeal of Magistrate Judge’s Order [Doc.


     1
        The Indictment, Plea Agreement, Judgment, and Petitioner’s recent
Notice of Appeal, among other filings, name Petitioner as Shelia Rochelle
Neal. Docs. #1, 29, 41, 108. However, other filings identify Petitioner as
Sheila Rochelle Neal. See, e.g., Docs. #64, 72, 74, 101, 104. Because the
Indictment in the related criminal case, 09CR261-3, names Petitioner as
Shelia Rochelle Neal, this Memorandum Opinion and Order refers to
Petitioner in the same manner.
     2
      All cites to docket entries refer to the criminal case: 09CR261-3.




     Case
      Case1:09-cr-00261-NCT
            1:09-cr-00261-NCT Document
                              Document126  Filed02/23/15
                                       127 Filed 02/23/15 Page
                                                           Page11
                                                                ofof
                                                                   77
#108]. For the reasons that follow, the Recommendation of United States

Magistrate Judge [Doc. #99] is ADOPTED, and Petitioner’s Motion Under 28

U.S.C. § 2255 to Vacate, Set Aside, or Correct Sentence [Doc. #64] is

DENIED. To the extent that the Magistrate Judge’s October 4, 2013 Order

[Doc. #105] is treated as a Recommendation of United States Magistrate Judge

as to Petitioner’s Motion for Reduction in Sentence (Pursuant to 18 U.S.C. §

3582(c)(2)) and Petitioner’s Notice of Appeal [Doc. #108] is treated as an

objection to the Recommendation, the Recommendation of United States

Magistrate Judge is ADOPTED, and Petitioner’s Motion for Reduction in

Sentence (Pursuant to 18 U.S.C. § 3582(c)(2)) is DENIED. To the extent that

the Magistrate Judge’s October 4, 2013 Order [Doc. #105] treated Petitioner’s

Motion for Reduction in Sentence (Pursuant to 18 U.S.C. § 3582(c)(2)) as a

Motion to Amend her previously filed Motion Under 28 U.S.C. § 2255 and

denied such amendment after which Petitioner filed a Notice of Appeal,

Petitioner’s Notice of Appeal [Doc. #108] is DENIED.

                                     I.

     On June 4, 2010, Petitioner was sentenced to the then-mandatory

minimum sentence of imprisonment of 120 months for violating 21 U.S.C. §

846 and 841(b)(1)(A), conspiracy to distribute 500 grams or more of a mixture



                                     -2-




     Case
      Case1:09-cr-00261-NCT
            1:09-cr-00261-NCT Document
                              Document126  Filed02/23/15
                                       127 Filed 02/23/15 Page
                                                           Page22
                                                                ofof
                                                                   77
and substance containing a detectable amount of cocaine hydrochloride and

conspiracy to distribute 50 grams or more of a mixture and substance

containing a detectable amount of cocaine base. The Fourth Circuit affirmed

the sentence and issued its mandate on April 26, 2011. Docs. #57, 60.

      On July 5, 2011, Petitioner filed a Motion Under 28 U.S.C. § 2255 to

Vacate, Set Aside, or Correct Sentence. Doc. #64. On March 28, 2013,

Magistrate Judge Joe L. Webster issued a Recommendation denying Petitioner’s

§ 2255 Motion. Doc. #99. Any objections that Petitioner may have had to

Judge Webster’s Recommendation were due April 15, 2013. Doc. #100; see

also, e.g., Rule 8(b) of Rules for Section 2255 Proceedings. Petitioner did not

file any objections to the Recommendation. “[I]n the absence of any timely

filed objection, a district court need not conduct a de novo review, but instead

must ‘only satisfy itself that there is no clear error on the face of the record in

order to accept the recommendation.’” Diamond v. Colonial Life & Accident Ins.

Co., 416 F.3d 310, 315 (4th Cir. 2005) (quoting Fed. R. Civ. P. 72 advisory

committee’s notes). Judge Webster’s Recommendation, Doc. #99, has been

reviewed, and, finding no clear error on the face of the record, is adopted and

Petitioner’s Motion Under § 2255 to Vacate, Set Aside, or Correct Sentence,

Doc. #64, is denied.



                                        -3-




      Case
       Case1:09-cr-00261-NCT
             1:09-cr-00261-NCT Document
                               Document126  Filed02/23/15
                                        127 Filed 02/23/15 Page
                                                            Page33
                                                                 ofof
                                                                    77
                                      II.

      After the time for objections to Judge Webster’s Recommendation

denying Petitioner’s Motion Under § 2255 to Vacate, Set Aside, or Correct

Sentence, Petitioner filed a Motion for Reduction of Sentence (Pursuant to 18

U.S.C. § 3582(c)(2)). Doc. #101. Apparently, the Motion Under § 3582(c)(2)

was docketed as a Motion Under § 2255, and Petitioner filed a letter requesting

the docket entry be corrected to reflect a Motion Under § 3582(c)(2). Doc.

#104. On October 4, 2013, Judge Webster entered an Order in which he

evaluated Petitioner’s Motion as she requested, under 18 U.S.C. § 3582(c)(2),

and in the alternative, as a Motion to Amend Petitioner’s Motion Under§ 2255.

Doc. #105. Judge Webster denied Petitioner’s Motion under 18 U.S.C. §

3582(c)(2), concluding that a § 3582 proceeding was not the proper vehicle to

pursue relief based on Petitioner’s argument that Fair Sentencing Act changes

to statutory mandatory minimums applied retroactively to her case. Id. at 2.

      Judge Webster then considered Docket Number 101 as a Motion to

Amend Petitioner’s Motion Under § 2255 so that she could assert the

aforementioned argument. Id. Judge Webster denied the Motion to Amend,

because Fair Sentencing Act changes to statutory mandatory minimums are not

retroactive and amending the Motion Under § 2255 to assert otherwise would



                                      -4-




     Case
      Case1:09-cr-00261-NCT
            1:09-cr-00261-NCT Document
                              Document126  Filed02/23/15
                                       127 Filed 02/23/15 Page
                                                           Page44
                                                                ofof
                                                                   77
have been futile. Id. at 3.   Petitioner filed a Notice of Appeal of Judge

Webster’s Order on October 11, 2013. Doc. # 108 (signed by Petitioner on

October 11, 2013, file-stamped October 22, 2013, and docketed as having

been filed October 23, 2013). The Notice of Appeal states in its entirety:

      Comes now, the Defendant, Shelia Rochelle Neal, appearing pro se
      and files this Notice of Appeal. The Defendant appeals the ORDER
      by the Honorable Magistrate Judge Joe L. Webster on October 04,
      2013 [Doc. No. 105] denying her relief under her Motion for
      Reduction of Sentence (Pursuant to 18 U.S.C. §3582(c)(2) [sic];
      which was misconstrued as a Motion to Vacate, Set Aside or
      Correct Sentence [Doc. No. 101].

      A decision concerning Petitioner’s Motion for Reduction of Sentence

(Pursuant to 18 U.S.C. § 3582(c)(2)) is dispositive; therefore, the portion of

Judge Webster’s Order denying Petitioner’s Motion Under § 3582(c)(2) is

treated as a Recommendation. See 28 U.S.C. § 636(b)(1)(B).         Construing

Petitioner’s Notice of Appeal as a timely objection to the Recommendation

denying her Motion Under § 3582(c)(2), there is no clear error on the face of

the record. See Smith v. Nun, 98 F.3d 1335 (4th Cir. 1996) (“Because general

objections do not direct the court’s attention to any specific portions of the

report, general objections to a magistrate judge’s report are tantamount to a

failure to object.”); Orpiano v. Johnson, 687 F.2d 44, 47 (4th Cir. 1982)

(explaining that de novo review has been found unnecessary “when a party



                                     -5-




     Case
      Case1:09-cr-00261-NCT
            1:09-cr-00261-NCT Document
                              Document126  Filed02/23/15
                                       127 Filed 02/23/15 Page
                                                           Page55
                                                                ofof
                                                                   77
makes general and conclusory objections that do not direct the court to a

specific error in the magistrate’s proposed findings and recommendations”)

cited in Smith, 98 F.3d 1335. Cf. United States v. Midgette, 478 F.3d 616,

621 (4th Cir. 2007) (“[28 U.S.C. §] 636(b)(1) does not countenance a form of

generalized objection to cover all issues addressed by the magistrate judge; it

contemplates that a party’s objection to a magistrate judge’s report be specific

and particularized, as the statute directs the district court to review only “those

portions of the report or specified proposed findings or recommendations to

which objection is made.”) (emphasis in original). Therefore, the portion of

Judge Webster’s Order, Doc. # 105, denying Petitioner’s Motion Under §

3582(c)(2), which is treated as a Recommendation, is adopted, and Petitioner’s

Motion for Reduction of Sentence (Pursuant to 18 U.S.C. § 3582(c)(2)) [Doc.

#101] is denied.

      The portion of Judge Webster’s Order evaluating Docket Number 101 as

a Motion to Amend Petitioner’s Motion Under 28 U.S.C. § 2255 to Vacate, Set

Aside, or Correct Sentence is non-dispositive. Cf. 28 U.S.C. § 636(b)(1)(A).

Therefore, Petitioner’s Notice of Appeal is construed as a timely objection to the

Order denying her Motion to Amend. Finding that the denial of Petitioner’s

Motion to Amend is not contrary to law and that there is no clear error,



                                        -6-




      Case
       Case1:09-cr-00261-NCT
             1:09-cr-00261-NCT Document
                               Document126  Filed02/23/15
                                        127 Filed 02/23/15 Page
                                                            Page66
                                                                 ofof
                                                                    77
Petitioner’s Notice of Appeal [Doc. #108] is denied.

                                     III.

      The Court adopts the Magistrate Judge’s Recommendation [Doc. #99]

and the portion of the Magistrate Judge’s Order [Doc. #105] construing Docket

Number 101 as a Motion for Reduction of Sentence (Pursuant to 18 U.S.C. §

3582(c)(2)). IT IS THEREFORE ORDERED that Petitioner’s Motion Under §

2255 to Vacate, Set Aside, or Correct Sentence [Doc. #64] is DENIED; that

Petitioner’s Motion for Reduction of Sentence (Pursuant to 18 U.S.C. §

3582(c)(2)) [Doc. #101] is DENIED; and that Petitioner’s Notice of Appeal,

[Doc. #108] is DENIED. Finding no substantial issue for appeal concerning the

denial of a constitutional right affecting the conviction, nor a debatable

procedural ruling, a certificate of appealability is not issued.    A judgment

dismissing this action will be entered contemporaneously with this Order.

      This the 23rd of February, 2015.



                                                 /s/ N. Carlton Tilley, Jr.
                                            Senior United States District Judge




                                      -7-




     Case
      Case1:09-cr-00261-NCT
            1:09-cr-00261-NCT Document
                              Document126  Filed02/23/15
                                       127 Filed 02/23/15 Page
                                                           Page77
                                                                ofof
                                                                   77
